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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


Eric Clopper

               Plaintiff

      v.                                              Civil Action No. 1:20-11363-RGS

Harvard University et al

               Defendants


                                ORDER OF DISMISSAL

                                   November 5, 2020

STEARNS, D.J.

      In accordance with the court’s Electronic Order [Dkt # 52] issued on November

5, 2020, granting defendant’s Motion to Dismiss, it is ORDERED that the above-entitled

action be, and hereby is, dismissed with prejudice.



                                                            By the court,

                                                            /s/ Arnold Pacho
                                                            Deputy Clerk
